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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                         )
                                                  )
                             Plaintiff,           )
                                                  )
vs.                                               )      Case No. CR-08-25-07-JHP
                                                  )
PHILLIP JEROME WARRIOR,                           )
                                                  )
                             Defendant.           )


                                          ORDER


         Pursuant to the provisions of 18 U.S.C. § 4241 and § 4242 and this Court’s order of

April 8, 2008, the Defendant was committed to the medical Center for Federal Prisoners in

Englewood, Colorado, for observation and examination. Having received that Medical

Center’s report, filed herein on July 7, 2008, the Court conducted an evidentiary hearing on

July 21, 2008, for the purpose of determining the Defendant’s present mental competence to

stand trial.

         The government was present through Robert Wallace, Assistant United States

Attorney. The Defendant was present in person and was represented by counsel, Mark

Green. Both parties had received and read the Center’s psychological evaluation report on

this Defendant prepared by David E. Morrow, Ph.D., Forensic Psychologist. Both sides

stipulated that the report be introduced into evidence and that the Court make its

determination based solely upon the report. Having read and examined the report filed

herein, the Court finds the Defendant is not suffering from any mental disease or defect
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rendering him mentally incompetent to the extent that he is unable to understand the nature

and consequences of the proceedings against him or to assist his attorney in the preparation

of a defense.

       Accordingly, the Court finds and orders that the Defendant is mentally competent to

stand trial. It is the further order of this Court that the Medical Center’s report filed herein

be sealed until further order of this Court.

       IT IS SO ORDERED this 21st day of July, 2008.




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